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                   IN THE VNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
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                              BUTTE DIVISION           II¥.          E. DUFi'y
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                                                    ______                 7Y~


UNITED STATES OF AMERICA,
                                             CR 11-33-BU-DWM
                           Plaintiff,

             vs.                             FINDINGS & RECOMMENDATION
                                             CONCERNING PLEA
MARK STEPHEN SIGLER,

                           Defendant.


      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of conspiring to manufacture,

distribute, and possess with intent to distribute marijuana in violation of2l U.S.c,

§§ 841(a)(1) and 846 as set forth in the Information. Defendant has agreed to the

forfeiture allegations advanced under 21 U.S.C. § 853.

      After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,

      2. That the Defendant is aware of the nature of the charge against him and

consequences ofpleading guilty to the charge,


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      3, That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty, and

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offense charged,

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of the sole

count of the Information, and that sentence be imposed.

      This report is forwarded with the recommendation that the Court defer

a decision re&ardin2 acceptance until the Court has reviewed the Plea

A2reement and the presentence report,

      DATED this 12th day of March, 2012.




                                             'ahC. Lynch
                                           ted States Magistrate Judge




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